                  Case 13-11326-JKS        Doc 1172       Filed 10/09/23   Page 1 of 2




                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                :    Chapter 7
                                                      :
HIGHWAY TECHNOLOGIES, INC. AND                        :    Case No. 13-11326 (JKS)
HTS ACQUISITION, INC.                                 :
                                                      :    (Jointly Administered)
          Debtors.                                    :
                                                      :    Related Document No. 1168
                                                      :


                     NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                        HEARING ON OCTOBER 19, 2023 AT 2:00 P.M.

                                       ZOOM INSTRUCTIONS:

     This remote hearing will be conducted via Zoom and requires participants to register in
            advance. COURTCALL WILL NOT BE USED FOR THIS HEARING.

                  Please use the following link to register in advance for this hearing:

     https://debuscourts.zoomgov.com/meeting/register/vJItdu-oqjsqHB2eGRqiykL2Ad_8-
                                          m9tF38

       After registering your appearance by Zoom, you will receive a confirmation email
      containing information about joining the hearing. You must use your full name when
                  logging into Zoom or you will not be allowed into the meeting.



MATTERS GOING FORWARD:

1.        Status Conference (Order Setting Status Conference, filed September 20, 2023, Docket
          No 1168) 1168

          Response Deadline: n/a

          Related Documents: None

          Status: This matter will go forward.




ME1 46262853v.1
                  Case 13-11326-JKS   Doc 1172   Filed 10/09/23    Page 2 of 2




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                                             2

ME1 46262853v.1
